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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


MONIQUE GRIMES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

                     Plaintiff,                    CASE NO. 17-cv-12860
v.                                                 HON. GERSHWIN A. DRAIN

TROOPER MARK BESSNER, et al.,

               Defendants.
__________________________________/

      ORDER DENYING WITHOUT PREJUDICE MOTION FOR
 WITHDRAWAL [#59], GRANTING PLAINTIFF’S MOTION FOR LEAVE
   TO FILE SECOND AMENDED COMPLAINT [#61], TERMINATING
 JOSEPH T. FROEHLICH AS COUNSEL TO DEFENDANT BERGER AND
   SETTING BRIEFING SCHEDULE ON ORAL MOTION TO STRIKE

     I.     INTRODUCTION
          Presently before the Court is the Attorney General’s Office’s Motion to

Withdraw as Counsel for Defendant Ethan Berger, filed on May 2, 2018. Plaintiff

filed a Response in Opposition on May 16, 2018 and the Attorney General’s Office

filed a Reply on May 23, 2018. Plaintiff filed a Supplemental Brief in Opposition

on May 24, 2018. 1        On June 3, 2018, the Michigan State Police Troopers



1
  At the hearing on this matter, the Attorney General’s Office orally moved to
strike Plaintiff’s Supplemental Brief. The Court set a briefing schedule on the
Attorney General’s Office’s oral motion. The Attorney General’s Office shall file
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Association (“MSPTA”) filed an Amicus Curiae brief which includes the

MSPTA’s statement of position on the Attorney General’s Office’s Motion to

Withdraw. The MSPTA requests that the Court hold the Attorney General’s

Office’s Motion to Withdraw in Abeyance until the conclusion of the arbitration

proceedings, which will finally resolve the issues relative to Defendant Berger’s

employment and the Attorney General’s Office’s representation of Defendant.

         A hearing on this matter was held on June 5, 2018. For the reasons that

follow, the Court will deny without prejudice the Attorney General’s Office’s

Motion to Withdraw. 2

   II.     FACTUAL BACKGROUND

         On December 28, 2017, the Attorney General’s Office filed a notice of

appearance on behalf of Defendant Berger in the case of Grimes v. Berger, No.

13580, which has been consolidated with the instant action. At that time, the

Attorney General’s Office knew that Defendant Berger would not be criminally

charged for his conduct during the incident giving rise to this action. Also, at that


its brief no later than June 15, 2018. Plaintiff shall file her Response no later than
June 22, 2018.
2
  At the hearing, the Court inquired as to the Attorney General’s Office’s position
regarding Plaintiff’s Motion for Leave to File Second Amended Complaint, which
was filed on May 15, 2018. The Attorney General’s Office advised the Court that
it had no opposition to Plaintiff’s request for leave to file a Second Amended
Complaint. Because the Court has denied the Attorney General’s Office’s Motion
to Withdraw, the Attorney General’s Office shall file a Response to Plaintiff’s
Second Amended Complaint.
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time, the action herein had been stayed pursuant to a request by the State of

Michigan and the Michigan State Police (collectively “MSP”), through the

Attorney General’s Office, pending the outcome of the criminal investigation of

Defendants Mark Bessner and Berger.3

      Because the temporary stay was set to expire on December 28, 2017, the

MSP, through the Attorney General’s Office, moved for an indefinite extension of

the stay until the conclusion of Defendant Bessner’s criminal trial for second

degree murder and involuntary manslaughter even though the Attorney General’s

Office did not represent Defendant Bessner. On February 23, 2018, the Court

denied the request for an indefinite stay.

      On March 27, 2018, the Court conducted a scheduling conference in this

matter. At the conference, the Attorney General’s Office advised the Court that an

internal affairs investigation of Defendant Berger’s conduct had been completed

and proposed his termination from employment with the MSP as of March 20,

2018. The Court was further advised that the Attorney General’s Office would




3
  Defendant Bessner’s criminal trial charging him with second degree murder and
two counts of manslaughter was recently adjourned and is now scheduled to
commence on August 20, 2018. A final pretrial conference is set for June 8, 2018.
See https://cmspublic.3rdcc.org/CaseDetail.aspx?CaseID=3654884. The MSPTA
respectfully requests that the Court sua sponte stay these civil proceedings against
Defendant Bessner until the conclusion of his criminal trial since neither Defendant
Bessner nor his criminal attorney have sought a stay herein.
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most likely seek to withdraw from representation. Apparently, on April 30, 2018,

the Attorney General’s Office was directed to file a motion to withdraw.

      The MSPTA has filed a grievance concerning Defendant Berger’s proposed

termination, as well as a grievance challenging the Attorney General’s Office’s

withdrawal from representation. An arbitrator is set to hear both grievances on

June 18, 2018. The MSPTA surmises that a final decision by the arbitrator could

occur by October 1, 2018, or perhaps as early as mid-August.

      The Court entered a Scheduling Order in this matter on March 28, 2018.

Discovery is due by October 27, 2018, dispositive motions are due by February 11,

2019, and a jury trial is scheduled for July 9, 2019.

      Lastly, on May 22, 2018, the parties engaged in early facilitation.             In

Plaintiff’s Supplemental Brief, she asserts various complaints concerning the

conduct of counsel from the Attorney General’s Office. This filing is the subject

of the Attorney General’s Office’s oral Motion to Strike raised during the hearing

on this matter.


   III.     LAW & ANALYSIS
          It is within the discretion of the district court whether to permit an attorney

to withdraw from representation of a client. Brandon v. Blech, 560 F.3d 536, 537

(6th Cir. 2009). The Sixth Circuit has noted that while the “rules stop short of




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guaranteeing a right to withdraw, they confirm that withdrawal is presumptively

appropriate where the rule requirements are satisfied.” Id. at 538.

      Under this Court’s local rules, an attorney’s appearance continues until final

resolution of all claims by or against the party represented, or until a withdrawal or

substitution order has been entered. See E.D. Mich. L.R. 83.25(b)(1); (b)(2). The

Court’s local rules further specify that the Rules of Professional Conduct adopted

by the Michigan Supreme Court apply to members of the bar who appear in the

Eastern District of Michigan. E.D. Mich. L.R. 83.22(b). Under Michigan’s Rules

of Professional Conduct, an attorney may withdraw if withdrawal can be

accomplished “without material adverse effect on the interests of the client, or if . .

. other good cause for withdrawal exists.” M.R.P.C. 1.16(b)(6).

      Neither party has provided the Court with any authority—controlling or

persuasive—that is on point with the factual circumstances herein. The Court has

searched for authority, but has only found decisions focusing on withdrawal

requests based on a client’s non-payment of fees pursuant to Rule 1.16(b)(4) as

opposed to the catchall “other good cause” provision set forth in Rule 1.16(b)(6).

These cases indicate that while the rules suggest that withdrawal is presumptively

appropriate, “[t]here are, of course, several occasions when a district court ought to

prohibit counsel from withdrawing.” Brandon, 560 F.3d at 538. Such instances

may occur when attorneys “engage in strategically-timed or coercive behavior, like


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waiting until a client is ‘over a barrel’ before demanding payment.” Id.

Additionally, withdrawal may be appropriately denied if withdrawal “would work

severe prejudice on the client or third parties.” Id. However, leaving a client

without counsel does not amount to severe prejudice if the case is inactive, with no

imminent deadlines and ample time remains for the client to retain new counsel.

Id.; see also King v. Curtis, 610 F. App’x 534, *539 (6th Cir. May 7, 2015) (noting

that “leav[ing] a client without representation—absent something more—does not

constitute severe prejudice.”). The Court will consider the parties’ arguments with

these principles in mind.

      The Attorney General’s Office maintains that good cause for permitting

withdrawal exists, namely that Defendant Berger, the Court and the Plaintiff’s

counsel were all informed at the outset of this matter that the Attorney General’s

Office’s involvement was provisional.        Since Defendant Berger has been

terminated from his employment consistent with applicable civil service rules and

the collective bargaining agreement, withdrawal should be permitted. Lastly, the

Attorney General’s Office notes that the complaint has been answered, initial

discovery has been exchanged and the parties have conducted an early facilitation.

As such, any prejudice to Defendant Berger can be addressed by the Court in a

modified scheduling order.




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       Plaintiff counters that the Attorney General’s Office has failed to

demonstrate good cause for withdrawal. She argues that this is the Office’s latest

attempt to avert justice for the Estate of Damon Grimes and the fact that the

Attorney General seeks to withdraw after rendering Defendant Berger jobless and

without income to afford private counsel is callous and deplorable.           Plaintiff

further asserts that pursuant to the applicable Collective Bargaining Agreement

(“CBA”), once a determination has been made to provide representation to an

employee, the Attorney General’s Office is bound by that determination. Plaintiff

relies on section 12 of the CBA, which states in relevant part:

      Whenever any civil action is commenced against any employee
      alleging negligence or other actionable conduct, if the employee was
      in the course of employment at the time of the alleged conduct and
      had a reasonable basis for believing that the conduct was within the
      scope of the authority delegated to the employee, the Employer shall,
      at its option, pay for or engage or furnish the services of an attorney to
      advise the employee as to the claim and to appear for and represent
      the employee in the action.

See Plf.’s Resp., Ex. 1 at Pg ID 662. Plaintiff asserts that basic principles of

contract interpretation preclude the relief sought herein, that is, nothing in the

CBA’s language permits the MSP to issue a reservation of rights letter or rescind

its decision to provide counsel.

      Here, while the Court declines to find persuasive Plaintiff’s argument

concerning contract interpretation, nor its reliance on case law concerning

withdrawal in the criminal context, see United States v. Mack, 258 F.3d 548 (6th

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Cir. 2001), the Court nonetheless concludes that the Attorney General’s Office has

failed to establish good cause for the relief it seeks.      The Sixth Circuit has

indicated that “attorneys may forfeit the right to withdraw when they engage in

strategically-timed or coercive behavior . . . .” Brandon, 560 F.3d at 538.         It

appears to the Court that from the outset of the instant proceedings, the Attorney

General’s Office has engaged in strategically-timed behavior to represent the

interests of Trooper Berger in defending him on the claims brought by Plaintiff.

      The Attorney General’s Office has taken the position throughout the instant

proceedings that the Plaintiff prematurely filed the instant action because she did

not wait for the MSP’s and the criminal justice system’s investigations, which

ignores our system of justice and an individual’s right to file a lawsuit at the point

a constitutional violation has occurred.       Moreover, it appears the Attorney

General’s Office is engaging in conduct that warrants a forfeiture of the

presumptive right to withdraw, at least at this juncture of the proceedings.

      At the time that the Attorney General’s Office agreed to represent Defendant

Berger, it was aware that he would not be criminally charged and that the MSP’s

internal investigation had not yet concluded.       The Attorney General’s Office

apparently intended to withdraw if the internal affairs’ investigation did not result

favorably to Defendant Berger, or when Defendant Berger would be unable to

secure substitute counsel due to a lack of income. This conduct has, in essence,


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left Defendant Berger defenseless. Such conduct not only leaves Defendant Berger

severely prejudiced because discovery is ongoing in this matter, but also inevitably

causes further harm to the Plaintiff who has already been subjected to delay in the

instant proceedings. See KCI United States, Inc. v. Healthcare Essentials, Inc.,

No. 1:14CV549, 2018 U.S. Dist. LEXIS 47438, *5-6 (N.D. Ohio Mar. 21, 2018)

(denying motion to withdraw because “withdrawal would severely burden the

litigants in this lawsuit” including the defendant because the court lacked any

indication that he “possesses the knowledge or ability to prepare his case pro se or

effectively represent himself during the remainder of the lawsuit.”). Such conduct

is also at odds with the Rules of Professional Conduct, which advise that, “[a]

lawyer should not accept representation in a matter unless it can be performed

competently, promptly, without improper conflict of interest and to completion.”

M.R.P.C. 1.16, comment (emphasis supplied).

      Additionally, the Court finds the argument advanced by the MSPTA to be

persuasive. There is no good faith basis for the Attorney General’s Office to be

permitted to withdraw at this juncture when there is a possibility that the arbitrator

will reverse the decision to deny Defendant Berger representation. Such a decision

could occur as early as mid-August or no later than early October. Even if the

Attorney General’s Office’s decision to deny representation is upheld, it has




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 advanced no prejudice stemming from continued representation of Defendant

 Berger from today’s date through early October of this year.

       This case is not inactive and discovery will close on October 27, 2018, or

 very near to the time that the arbitrator will issue his decision.         As such,

 withdrawal at this juncture will require additional delay occasioned, once again, by

 the Attorney General’s Office. It will prejudice Defendant Berger who will be

 forced to either find and pay substitute counsel with no current income or to

 proceed without the benefit of counsel without any apparent ability to effectively

 represent his interests herein.

       Withdrawal will also severely prejudice the Plaintiff, who has already been

 subjected to a stay in these proceedings at the request of the Attorney General’s

 Office, which at the time of its request, was not a party to the instant proceedings,

 nor did it represent Defendant Berger or any party in the litigation.   KCI United

 States, 2018 U.S. Dist. LEXIS 47438, at *6 (denying withdrawal because “the

 current stage of litigation suggests that counsel’s “withdrawal will likely have an

 irreparable and unavoidable prejudicial effect on Plaintiff” where the “case has

 been ongoing for a substantial length of time and is at a critical stage[,]” thus,

 “judicial economy and efficiency would be negatively impacted by any further

 delay in the case.”).




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       Lastly, in addition to failing to satisfy the catchall “good cause” provision

 set forth in M.R.P.C. 1.16(b)(6), the Court notes that counsel, as an employee of

 the Attorney General’s Office, is a salaried employee whose continued

 representation will not impact his livelihood. This circumstance separates this case

 from those where withdrawal is presumptive and permitted upon satisfaction of the

 Rules of Professional Conduct.

    IV.   CONCLUSION

       For the reasons articulated above, the Attorney General’s Motion to

 Withdraw [#59] is DENIED WITHOUT PREJUDICE.                     Because Joseph T.

 Froelich has left the Attorney General’s Office for private practice, his

 representation of Defendant Berger is HEREBY TERMINATED.

       Plaintiff’s Motion for Leave to File Second Amended Complaint [#61] is

 GRANTED. Plaintiff shall file her Second Amended Complaint forthwith. The

 Attorney General’s Office shall file Defendant Berger’s Answer to the Second

 Amended Complaint in accordance with the applicable Federal Rules of Civil

 Procedure.

       The Attorney General’s Office shall file a brief in support of its oral Motion

 to Strike no later than June 15, 2018. Plaintiff shall file her Response no later than

 June 22, 2018.

       SO ORDERED.


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 Dated: June 7, 2018                              /s/Gershwin A. Drain
                                                  GERSHWIN A. DRAIN
                                                  United States District Judge


                         CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
                June 7, 2018, by electronic and/or ordinary mail.
                                /s/ Tanya Bankston
                                    Deputy Clerk




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